Case 1:04-cv-10981-PBS Document 1687 Filed 03/02/09 Page 1 of 3

UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

 

Inre: NEURONTIN MARKETING, SALES MDL Docket No. 1629
PRACTICES, AND PRODUCTS
LIABILITY LITIGATION Master File No. 04-10981

 

Judge Patti B. Saris
THIS DOCUMENT RELATES TO: Mag. Judge Leo T. Sorokin

ALL CLASS ACTIONS

 

HARDEN MANUFACTURING CORPORATION;
LOUISIANA HEALTH SERVICE INDEMNITY
COMPANY, d/b/a BLUECROSS/BLUESHIELD OF
LOUISIANA; UNION OF OPERATING
ENGINEERS, LOCAL NO. 68 WELFARE FUND;
ASEA/AFSCME LOCAL 52 HEALTH BENEFITS
TRUST; GERALD SMITH; and LORRAINE

KOPA, on behalf of themselves and all others
similarly situated,

Plaintiffs,
Vv.

PFIZER INC. and WARNER-LAMBERT
COMPANY,
Defendants.

 

 

 

COORDINATED PLAINTIFFS’ MOTION TO JOIN THE CLASS PLAINTIFFS’
REPLY MEMORANDUM IN SUPPORT OF CLASS PLAINTIFFS’ EMERGENCY
MOTION FOR EXTENSION OF TIME TO DESIGNATE DOCUMENTS
FOR SUMMARY JUDGMENT AND TRIAL
Coordinated Plaintiffs, The Guardian Life Insurance Company of America (“Guardian”),

Aetna, Inc. (“Aetna”), Kaiser Foundation Hospitals, and Kaiser Foundation Health Plan, Inc.

(collectively, “Kaiser”), by and through undersigned counsel, move to join the Reply
Case 1:04-cv-10981-PBS Document 1687 Filed 03/02/09 Page 2 of 3

Memorandum in Support of Class Plaintiffs’ Emergency Motion for Extension of Time to

Designate Documents for Summary Judgment and Trial filed on February 27, 2009 (Docket No.

1686). Coordinated Plaintiffs hereby incorporate the arguments set forth in the Reply

Memorandum.

WHEREFORE, Coordinated Plaintiffs move to join the Reply Memorandum in Support

of Class Plaintiffs’ Emergency Motion for Extension of Time to Designate Documents for

Summary Judgment and Trial, along with all other relief appropriate under the circumstances.

Dated: March 2, 2009

Respectfully Submitted,

/s/ Linda P. Nussbaum

Linda P. Nussbaum

Kaplan, Fox & Kilsheimer, LLP
850 Third Avenue, 14" Floor

New York, NY 10022

(212) 687-1980

Counsel for Coordinated Plaintiffs
Kaiser Foundation Hospitals and
Kaiser Foundation Health Plan, Inc.

/s/ Mark M. Sandman

Mark M. Sandmann

Rawlings & Associates, PLLC

One Eden Parkway

LaGrange, KY 40031

(502) 814-2157

Counsel for Coordinated Plaintiff The
Guardian Life Insurance Company of
America

/s/ Gerry Lawrence

Gerry Lawrence

Lowey Dannenberg Cohen & Hart
White Plains Plaza

One North Broadway, 5 Floor
White Plains, NY 10601-2310
Counsel for Coordinated Plaintiff
Aetna, Inc.
Case 1:04-cv-10981-PBS Document 1687 Filed 03/02/09 Page 3 of 3

CERTIFICATE OF SERVICE

I hereby certify that the foregoing Coordinated Plaintiffs’ Motion to Join the Class
Plaintiffs’ Reply Memorandum in Support of Class Plaintiffs’ Emergency Motion for Extension
of Time to Designate Documents for Summary Judgment and Trial was filed through the ECF
system, and has been served pursuant to Case Management Order No. 3 on March 2, 2009.

/s/ Roseann Kelly
